
**er cur^am
Where A. makes a confession, and relates circumstances which are proven to have actually existed as related in the confession, that may be evidence sufficient for a jury to proceed upon to convict the prisoner ; but a naked confession, unattended with circumstances, is not sufficient. A confession, from the very nature of the thing, is a very doubtful species of evidence, and to be received with great caution. It is hardly to be supposed that a man perfectly possessed of himself, would make a confession to take away his own life. It must generally proceed from a promise or hope of favor, or from a dread of punishment, and in such situations, the mind is agitated — the. man may be easily tempted to go further than the truth. Besides, the witness, respecting the confession, may have mistaken his meaning. How easy is it to *525understand the speaker, different]) from what he meant j and the smallest misiake in this particular, might, prove fatal. As there are no confirmatory circumstances in the present case, it is better to acquit the prisoner. The jury found him not guilty.
Note. — Vide 1 Phil. on Evid. 86, contra.
